                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


                                            )
OHIO A. PHILIP RANDOLPH INSTITUTE,          )
LEAGUE OF WOMEN VOTERS OF OHIO,             )
THE OHIO STATE UNIVERSITY COLLEGE           )
DEMOCRATS, NORTHEAST OHIO YOUNG             )
BLACK DEMOCRATS, HAMILTON COUNTY )
YOUNG DEMOCRATS, LINDA GOLDENHAR, )
DOUGLAS BURKS, SARAH INSKEEP,               )
CYNTHIA LIBSTER, KATHRYN DEITSCH,           )
LUANN BOOTHE, MARK JOHN GRIFFITHS, )
LAWRENCE NADLER, CHITRA WALKER,             )
TRISTAN RADER, RIA MEGNIN,                  )
ANDREW HARRIS, AARON DAGRES,                )
ELIZABETH MYER, BETH HUTTON,                )
TERESA THOBABEN,                            )
and CONSTANCE RUBIN,                        )              No. 1:18-cv-00357
                                            )
         Plaintiffs,                        )              Judge Timothy S. Black
                                            )              Judge Karen Nelson Moore
v.                                          )              Judge Michael H. Watson
                                            )
LARRY HOUSEHOLDER, Speaker of the           )              Magistrate Judge Karen L. Litkovitz
Ohio House of Representatives, LARRY OBHOF, )
President of the Ohio Senate, and           )
FRANK LAROSE, Secretary of State of Ohio,   )
in their official capacities,               )
                                            )
         Defendants.                        )
________________________________________ )


DEFENDANTS’ EMERGENCY MOTION TO STAY INJUNCTION PENDING APPEAL

       This Court should stay its injunction pending the resolution of the Defendants’ appeal to

the Supreme Court of the United States. The Supreme Court this Term heard argument in two so-

called “partisan gerrymandering” cases: Rucho v. Common Cause, 18-422 and Lamone v. Benisek,

18-726. Those two cases collectively present precisely the same issues as this case: whether so-
called partisan gerrymanders are unconstitutional; if so, whether those suits are justiciable; and, if

they are, what standards the constitutionality of congressional maps are to be judged by. In all

likelihood, the Court will issue its decisions on or near the last day of the Term in June.

       Whatever the Supreme Court does, it will likely grant relief to the Defendants. First, its

jurisdiction is mandatory. Once the Defendants appeal this decision, the Supreme Court will have

to decide the appeal. Second, because of the posture in Rucho and Lamone, the Supreme Court

will issue a decision that very likely impact this Court’s decision. If the Supreme Court holds that

partisan gerrymandering is not unconstitutional, or that such claims are non-justiciable, then it will

reverse this Court’s decision. And even if the Court holds that the claims are justiciable, the

Supreme Court will likely vacate this Court’s decision for reconsideration in light of whatever test

the Supreme Court settles on. The Supreme Court is a “court of review, not of first view.” Cutter

v. Wilkinson, 544 U.S. 709, 718 n.7 (2005). Thus, it has not traditionally heard argument in

redistricting cases that would require it to apply newly announced doctrine in the first instance.

For example, in Gill v. Whitford, the Supreme Court announced the standing law applicable in that

case, but then remanded the case to the district court to apply that law in the first instance. 138 S.

Ct. 1916, 1934 (2018). More relevant here, it also vacated and remanded a second partisan-

gerrymandering decision that had been stayed pending Gill, instructing the district court in that

case to reconsider its decision in light of Gill. See Rucho v. Common Cause, 138 S. Ct. 2679

(2018). If the Court finds that parties may challenge so-called partisan gerrymanders, it is likely

to vacate this Court’s decision and remand for further review.

       In the absence of a stay, the State of Ohio and the public interest will be irreparably harmed.

This Court’s decision gives the General Assembly until June 14 to repeal the current map and

replace it with another. But the Supreme Court is unlikely to decide either Rucho or Lamone until



                                                  2
the end of June. If the Supreme Court ultimately holds that partisan gerrymandering claims are

non-justiciable, or if it issues any other decision that would require reexamination of this Court’s

decision, then the General Assembly will have been needlessly pressured into either repealing a

validly enacted law or wasting resources trying to accommodate a mooted decision. The Court

can avoid these consequences by staying its decision.

       In support of this motion, the Defendants rely on the facts, law, and argument set forth in

their accompanying Brief in Support. Counsel for the Defendants sought concurrence of Plaintiffs’

and Intervenors’ counsel. Plaintiffs oppose the requested relief, while Intervenors consent to it.

       The Defendants respectfully request that this Court order expedited briefing on this issue,

so that it may resolve the stay application no later than Friday, May 10. This expedited schedule

is necessary to allow the Supreme Court to entertain a stay request prior to this Court’s June 14

deadline. In order to accommodate that schedule, the Defendants are willing to waive their

opportunity for a reply.

       WHEREFORE, Defendants respectfully move the Court to stay the injunction in this case

pending the resolution of the Defendants’ appeal to the Supreme Court of the United States.




                                                 3
                    Respectfully submitted
                    DAVID YOST
                    Ohio Attorney General


                    By: /s/Phillip J. Strach
                    Phillip J. Strach*
                    N.C. State Bar No. 29456
                    phil.strach@ogletree.com
                    *Lead and Trial Counsel

                    By: /s/Michael D. McKnight
                    Michael McKnight
                    N.C. State Bar No. 36932
                    michael.mcknight@ogletree.com
                    Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
                    4208 Six Forks Road, Suite 1100
                    Raleigh, NC 27609
                    Tel.: (919) 787-9700
                    Facsimile: (919) 783-9412

                    Attorneys for Defendants Householder & Obhof


                    /s/ Bridget Coontz
                    Bridget Coontz
                    Ohio State Bar No. 0072919
                    Ann Yackshaw
                    Ohio State Bar No. 0090623
                    Ohio Attorney General's Office
                    Constitutional Offices Section
                    30 E. Broad Street, 16th Floor
                    Columbus, Ohio 43215
                    Tel: (614) 466-2872
                    Fax: (614) 728-7592
                    bridget.coontz@ohioattorneygeneral.gov

                    Attorneys for Defendants

Date: May 6, 2019




                     4
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


                                            )
OHIO A. PHILIP RANDOLPH INSTITUTE,          )
LEAGUE OF WOMEN VOTERS OF OHIO,             )
THE OHIO STATE UNIVERSITY COLLEGE           )
DEMOCRATS, NORTHEAST OHIO YOUNG             )
BLACK DEMOCRATS, HAMILTON COUNTY )
YOUNG DEMOCRATS, LINDA GOLDENHAR, )
DOUGLAS BURKS, SARAH INSKEEP,               )
CYNTHIA LIBSTER, KATHRYN DEITSCH,           )
LUANN BOOTHE, MARK JOHN GRIFFITHS, )
LAWRENCE NADLER, CHITRA WALKER,             )
TRISTAN RADER, RIA MEGNIN,                  )
ANDREW HARRIS, AARON DAGRES,                )
ELIZABETH MYER, BETH HUTTON,                )
TERESA THOBABEN,                            )
and CONSTANCE RUBIN,                        )                 No. 1:18-cv-00357
                                            )
         Plaintiffs,                        )                 Judge Timothy S. Black
                                            )                 Judge Karen Nelson Moore
v.                                          )                 Judge Michael H. Watson
                                            )
LARRY HOUSEHOLDER, Speaker of the           )                 Magistrate Judge Karen L. Litkovitz
Ohio House of Representatives, LARRY OBHOF, )
President of the Ohio Senate, and           )
FRANK LAROSE, Secretary of State of Ohio,   )
in their official capacities,               )
                                            )
         Defendants.                        )
________________________________________ )

 BRIEF IN SUPPORT OF EMERGENCY MOTION FOR A STAY PENDING APPEAL

       This Court should stay its judgment pending appeal. The Supreme Court has before it two

cases, Rucho v. Common Cause, 18-422 and Lamone v. Benisek, 18-726, that present precisely the

same issues that this case presents. Among other things, both cases call on the Court to address

whether challenges to so-called “partisan gerrymanders” are constitutional or justiciable and, if so,

by what standards. Once the Court decides those issues, it is likely to either reverse this Court or
to vacate and remand for further proceedings. Yet this Court ordered Ohio’s General Assembly

to pass a new map for the 2020 election by June 14, which is approximately two weeks earlier than

the Supreme Court is likely to issue its decision in those cases. The result? This Court’s decision

forces Ohio’s General Assembly to expend valuable legislative time and effort attempting to

address an issue before a court-imposed deadline, even though the issue is likely to become moot

just a couple of weeks later. Worse, the decision forces the General Assembly to repeal and replace

a duly enacted law before the Supreme Court has a chance to say whether there is any need to do

so.

       The Supreme Court regularly stays district court redistricting decisions that are likely to be

impacted by an upcoming Supreme Court decision. See, e.g., Gill v. Whitford, 137 S. Ct. 2289

(2017); Rucho v. Common Cause, 138 S. Ct. 923 (2018). Instead of forcing the Supreme Court’s

hand here, the Court should stay its own decision pending the resolution of the Defendants’ appeal

to the Supreme Court.

                                STANDARD OF REVIEW
       Courts will stay a judgment pending a direct appeal to the Supreme Court when there is “a

reasonable probability” that the Court will note probable jurisdiction, “a fair prospect that a

majority of the Court will vote to reverse the judgment below,” and “a likelihood that irreparable

harm will result from the denial of a stay.” Hollingsworth v. Perry, 558 U.S. 183, 190 (2010) (per

curiam); see also Rostker v. Goldberg, 448 U.S. 1306, 1308 (1980) (Brennan, J., in chambers).

This is really just a specific application of the general four-part test applicable to stays pending

appeal, under which courts consider four factors: “(1) whether the stay applicant has made a strong

showing that he is likely to succeed on the merits; (2) whether the applicant will be irreparably

injured absent a stay; (3) whether issuance of the stay will substantially injure the other parties



                                                 6
interested in the proceeding; and (4) where the public interest lies.” Nken v. Holder, 556 U.S. 418,

426 (2009) (quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).

                                         ARGUMENT
       The well-established practice in the Sixth Circuit is to stay a case where the dispositive

issue in that case is simultaneously pending before a higher court. See, e.g., United Steel, Paper &

Forestry, Rubber, Mfg., Energy, Allied Indus. & Serv. Workers Int’l Union v. Kelsey-Hayes Co.,

795 F.3d 525, 525 (6th Cir. 2015); United States v. Prisel, 316 F. App’x 377, 383 (6th Cir. 2008);

Cooey v. Strickland, 479 F.3d 412, 415 (6th Cir. 2007); Buckeye Cablevision, Inc. v. United States,

438 F.2d 948, 950 (6th Cir. 1971); Thibault v. Wierszewski, No. 15-CV-11358, 2017 U.S. Dist.

LEXIS 164418, at *3 (E.D. Mich. Oct. 4, 2017); Arab Am. Civil Rights League v. Trump, No. 17-

10310, 2017 U.S. Dist. LEXIS 88546, at *2 (E.D. Mich. Jun. 9, 2017); United States v. Wells, No.

98-80994, 2017 U.S. Dist. LEXIS 12902, at *2 (E.D. Mich. Jan. 31, 2017); Pierson v. DHL

Holdings USA, Inc., Nos. 12-10176, 12-14393, 2014 U.S. Dist. LEXIS 27045, at *3 (E.D. Mich.

Mar. 4, 2014); United States v. Conception, No. 88-80523, 2013 U.S. Dist. LEXIS 59851, at *3

(E.D. Mich. Apr. 26, 2013).

       There is no reason to depart from that practice here: the Defendants are entitled to a stay

pending appeal.

I.     There is a reasonable probability that the Supreme Court will note probable
       jurisdiction (or defer the jurisdictional question to the hearing) and a fair prospect
       that a majority of the Court will vote to reverse.

       The Supreme Court is all but certain to note probable jurisdiction in this case, or even

postpone consideration of the jurisdictional question to the hearing on the merits, and quite likely

to reverse or vacate once it does.

       The Supreme Court will take this case because it arises under the Court’s mandatory

appellate jurisdiction. 28 U.S.C. § 1253. That statute permits parties to “appeal to the Supreme
                                                 7
Court from an order granting or denying, after notice and hearing, an interlocutory or permanent

injunction in any civil action, suit, or proceeding required by any Act of Congress to be heard and

determined by a district court of three judges.” Id. The Defendants’ appeal, of course, will be

from a three-judge district court. The fact that the Supreme Court regularly either notes probable

jurisdiction over these types of challenges or sets the jurisdictional issue for argument confirms

the substantial nature of the underlying question. See, e.g., Rucho v. Common Cause, 139 S. Ct.

782 (2019); Lamone v. Benisek, 139 S. Ct. 783 (2019); Gill v. Whitford, 137 S. Ct. 2268 (2017);

Benisek v. Lamone, 138 S. Ct. 543 (2017); GI Forum v. Perry, 546 U.S. 1075 (2005); Vieth v.

Jubelirer, 539 U.S. 957 (2003).

       Once the Court takes Defendants’ appeal, there is a “fair prospect” that the Court will vote

to reverse or vacate. This follows from the fact that the Supreme Court will decide, before the end

of June, Rucho v. Common Cause, 18-422 and Lamone v. Benisek, 18-726. Those two cases

collectively present precisely the same issues as this case:           whether so-called partisan

gerrymanders are unconstitutional; if so, whether those suits are justiciable; and if they are, what

standards govern such claims.

       There is at least a “fair prospect” that the Court in Rucho and Lamone will hold either that

alleged partisan gerrymanders do not violate the Constitution, or that claims challenging their

constitutionality are not justiciable. (And to be clear, Ohio does not concede that its map is the

product of partisan gerrymandering.) A plurality of the Court in 2004 believed these claims to be

non-justiciable, Vieth v. Jubelirer, 541 U.S. 267, 281 (2004) (plurality op.), while a fifth justice

concluded that such claims would be non-justiciable at least until someone devised “clear,

manageable, and politically neutral standards for measuring the particular burden” on

constitutional rights, id. at 307–08 (Kennedy, J, concurring in the judgment). Since five justices



                                                 8
found against such claims at the time, and since four believed the claims to be per se non-

justiciable, surely there is at least a “fair prospect” that five justices will reject the challengers’

claims this Term too. That is all the more so in light of the fact that, just last year, the Court

unanimously recognized that the question whether these claims are justiciable remains open. Gill,

138 S. Ct. at 1926.

       That conclusion is bolstered by the fact that the Constitution as originally understood did

not prohibit so-called partisan gerrymanders. Elected officials have been drawing maps in ways

favorable to themselves since the Founding, see Op. 159–63—James Madison himself was the

target of an attempted partisan gerrymander by his anti-Federalist opponents.            See Tucker,

Redefining American Democracy: Do Alternative Voting Systems Capture the True Meaning of

“Representation”?, 7 Mich. J. Race & L. 357, 371 (2002). Indeed, the founding generation was

familiar   enough     with   the   risk     that   “a   faction”   might   “magnify[]     its   control

through gerrymandering electoral districts” that it gave Congress the power to modify state

election laws. Prakash & Yoo, People ≠ Legislature, 39 Harv. J.L. & Pub. Pol’y 341, 351 (2016);

U.S. Const. art. I, § 4. But even though they were familiar with the issue—and even though they

were uneasy enough about gerrymandering that they empowered Congress to intervene into state

election law via the Election Clause—no one at the founding or at the time of the Fourteenth

Amendment’s ratification suggested that political gerrymanders were unconstitutional or subject

to judicial review. Nothing in this Court’s opinion suggests otherwise—it establishes that people

disliked partisan gerrymanders, but not that anyone thought the Constitution empowered courts to

fashion a remedy. The fact that alleged partisan-gerrymander claims are unarguably baseless

under one of the predominant modes of constitutional interpretation suggests far more than a “fair

prospect” that the challengers will fail.



                                                    9
        What is more, there is a “fair prospect” that the Supreme Court would vacate this Court’s

decision and remand for further proceedings even if it were to recognize some ability to challenge

so-called partisan gerrymanders. If the Court finds for the challengers in Rucho or Lamone, it will

announce a test for analyzing the legality of alleged partisan gerrymanders. Since it has failed to

do so after more than three decades of attempts, it is unknown what that standard would look like.

It is highly unlikely that any such standard would look anything like the vague, standardless “test”

adopted by this Court. For example, at oral arguments in Rucho and Lamone, even Justice

Breyer—who has supported the justiciability of these claims in the past—was focused on trying

to divine a bright-line, mathematical rule. Justice Breyer asked counsel in Rucho whether States

could live with a test along the following lines: in the absence of an independent commission, “a

gerrymander is unconstitutional if a party … wins a majority of the votes in a state … but the other

party gets more than two-third of the seats.” Rucho, No. 18-422, Oral Arg. Tr. 20:18–22. Given

the inherent speculation as to what the Court’s test would be (if indeed there is one), there is more

than a “fair prospect” that the Court would announce a test different from the standards this Court

adopted. If it were to do so, then it would vacate and remand for further proceedings in light of

the new test, as it did when it announced its standard on standing in these cases last summer in

Gill. 138 S. Ct. at 1934. The Supreme Court has repeatedly stated that it is a “court of review, not

of first view,” Cutter v. Wilkinson, 544 U.S. 709, 718 n.7 (2005), and so it is exceedingly unlikely

to apply its test to the facts of this case in the first instance.

        The Supreme Court’s handling of Rucho’s first trip to the Supreme Court confirms the

likelihood that it will vacate and remand rather than applying its newly announced rule in the first

instance. In Rucho, as in this case, the district court held that a state legislature had violated the

First and Fourteenth Amendments. See Common Cause v. Rucho, 279 F. Supp. 3d 587, 597



                                                     10
(M.D.N.C. 2018). In Rucho, as in this case, the district court ordered the legislature to draw new

maps on a compressed schedule, and declared that it would appoint a special master to do so if the

legislature failed to act. Id. at 691. And in Rucho, as in this case, the district court ordered that

relief notwithstanding the fact that the Supreme Court had two partisan gerrymandering cases

pending before it—Gill v. Whitford, No. 16-1161; Benisek v. Lamone, No. 17-333—both of which

threatened to moot or force reconsideration of the district court’s decision. The Supreme Court,

with just two Justices dissenting, “stayed” the lower court’s order “pending the timely filing and

disposition” of an appeal to the Supreme Court. Rucho v. Common Cause, 138 S. Ct. 923 (2018).

Then, after it decided Gill, it “vacated” the district court’s Rucho decision and “remanded” it “to

the United States District Court for the Middle District of North Carolina for further consideration

in light of Gill v. Whitford.” See Rucho v. Common Cause, 138 S. Ct. 2679 (2018). There is no

reason to doubt it would take the same approach here.

        In the end, one can reasonably debate how the Court will resolve Rucho or Lamone. But

it is beyond reasonable debate that there is at least a “fair prospect” that the Court will resolve both

cases in a manner that requires reversal or vacatur of this Court’s decision. Or, to put it differently,

the Defendants are “likely to succeed on the merits”—certainly likely enough to justify a stay

given the irreparable harm that this Court’s order poses to Ohio and the public interest. Nken, 556

U.S. at 426 (quoting Hilton, 481 U.S. at 776). We turn to irreparable harm, the harm to third

parties, and the public interest, in the next section.

II.     Ohio will be irreparably harmed absent a stay, and the public interest strongly
        militates in favor of a stay.

        This Court’s decision—and, in particular, its command that the General Assembly pass a

new map by June 14—will irreparably harm the State of Ohio.




                                                   11
       As an initial matter, a State suffers “a form of irreparable injury” every time it is “enjoined

by a court from effectuating statutes enacted by representatives of its people.” Maryland v. King,

133 S. Ct. 1, 3 (2012) (Roberts, C.J., in chambers) (quoting New Motor Vehicle Bd. of Cal. v. Orrin

W. Fox Co., 434 U.S. 1345, 1351 (1977) (Rehnquist, J., in chambers)). In recognition of this, the

Court typically stays decisions enjoining state laws, provided there is a reasonable prospect of

Supreme Court review. See, e.g., id.; Herbert v. Kitchen, 571 U.S. 1116 (2014); San Diegans for

the Mt. Soledad Nat'l War Mem. v. Paulson, 548 U.S. 1301, 1303–04 (2006) (Kennedy, J., in

chambers). Here, review is certain and there is no reason not to maintain the status quo. For one

thing, the irreparable injury associated with injunctions of state law is especially great when a

federal court enjoins “districting legislation,” as this “represents a serious intrusion on the most

vital of local functions.” Miller v. Johnson, 515 U.S. 900, 915 (1995). For another, the 2020

election is far enough away that this Court can at least allow the General Assembly to await the

Supreme Court’s word about partisan gerrymandering in late June before acting. If indeed the

Supreme Court’s decision supports this Court’s decision, then this Court will have time to settle

on a remedy following remand or summary affirmance from the Supreme Court. It could even

vacate its stay if the Supreme Court’s decision makes the issue sufficiently obvious.

       The scope of the Court’s order exacerbates the injury. The Court’s decision requires both

houses of the General Assembly to separately introduce, consider and pass a new congressional

districting plan by June 14; and, if they fail to do so, the Court will draw a new map itself. See

Op. 294–97. But the Supreme Court will likely release its decisions in Rucho or Lamone after

June 14. The parties argued those cases in March, and divided opinions of this magnitude are

traditionally released at the very end of the Term, in late June. (Even in Gill, in which the Court

issued a unanimous judgment, the Court did not issue its opinion until June 18, 2018, even though



                                                 12
it heard argument on October 3 of the previous year. 138 S. Ct. 1916.) The relief this Court

ordered thus risks forcing the General Assembly to amend its law unnecessarily, and on an

artificially rushed basis. If the Supreme Court ultimately holds that these claims are non-

justiciable, or issues any other decision that would require reexamination of this Court’s decision,

then the General Assembly will have been needlessly pressured into expending energy repealing

and replacing a validly enacted law. The People of the State of Ohio will be better served if the

General Assembly can go about addressing pressing issues—ranging from the opioid epidemic to

the state’s biennial budget to education—instead of spending valuable time responding to an

opinion that has a high likelihood of becoming moot mere weeks after the June 14 deadline.

       It gets worse. Drafting a map that is ultimately unlikely to be used is exceptionally unfair

and confusing for voters and candidates. This lawsuit alone has created confusion. If this Court’s

ruling were to be affirmed, the voters of Ohio will have to vote under at least three different

congressional district maps in three consecutive general elections. First, Ohioans voted in 2018 in

their current congressional districts. Then, in 2020, Ohioans would vote in different congressional

districts produced as a result of this litigation. Finally, in 2022, congressional districts will change

yet again because of the decennial census, and Ohioans will have to learn new districts for a third

time. There is no telling what would happen if there needs to be a special election before 2020,

which perhaps risks disenfranchising Ohio voters. Foisting new districts on voters and candidates

in a matter of months will cause irreparable confusion and harm to those voters and candidates,

especially if the exercise of creating new congressional districts turns out to be for naught.

       The harm to the Defendants and the public is particularly stark in light of the fact that new

districts need not be drawn until September 20, 2019 to be implemented in time for the 2020

elections. Doc. 185, PageID 11065. It is not clear why the State and its citizens must be forced



                                                  13
into a truncated, confusing, and difficult map-drawing exercise prior to a ruling in Rucho and

Lamone when there is plenty of time to wait. The Court acknowledged the September 20, 2019

deadline in its Opinion and Order but failed to explain why a plan would need to be enacted even

before the end of the Supreme Court’s term. See Op. 294. Further, 75 percent of Ohioans voting

in the May 2018 primary voted to ratify a new constitutional process for redistricting—one that

this Court’s order ignores, creating the potential for still more confusion.

       These are not theoretical concerns. The Supreme Court has noted that lower courts should

be mindful of the “considerations specific to election cases” and avoid the very real risks that

conflicting court orders changing election rules close to an election may “result in voter confusion

and consequent incentive to remain away from the polls.” Purcell v. Gonzales, 549 U.S. 1, 4–5

(2006) (per curiam). Incumbents and candidates for congressional districts under Ohio’s existing

plan have been planning campaigns in these districts for months, if not years. Drawing new

districts before knowing the Supreme Court’s action in Rucho and Lamone will effectively freeze

campaigns, disrupt fundraising, and confuse voters. Some candidates who would otherwise run

for Congress may opt out because of the confusion. Voters may ultimately fail to participate not

understanding which plan is in place. If this final judgment is ultimately vacated (as has every

other similar judgment in cases like these the past several years), then the damage cannot be

undone.

       Once again, the Supreme Court’s decision to stay the decision in Rucho is instructive.

Recall that the district court in that case ordered almost the exact same relief; it required North

Carolina to pass a new map in just two weeks, all while Gill and Lamone were still pending at the

Supreme Court. Instead of forcing the North Carolina legislature to risk wasting its time, the




                                                 14
Supreme Court stayed the district court’s decision pending appeal. Rucho, 138 S. Ct. at 923. There

is no good reason not to treat this case identically.

       Finally, the failure to issue a stay will critically undermine the public interest in another

way: it will confuse the public about the proper role of the federal courts. When the “intelligent

man on the street,” see Gill v. Whitford, No. 16-1161 Oral Arg. Tr. 37:18–19 (Roberts, C.J.), learns

that the Court ordered the Ohio General Assembly to re-draw all of its congressional districts even

before the Supreme Court has a chance to speak to the issue, he is likely to wonder why. Why

could the deadline not have been set for mid-July? Or August, as it was in the recent Michigan

case finding a partisan gerrymander? See League of Women Voters of Mich. v. Benson, No. 2:17-

cv-14148, 2019 U.S. Dist. LEXIS 70167, at *223-24 (E.D. Mich. Apr. 25, 2019). Those dates

would permit a redrawing before the 2020 election, and they would do so without any risk that the

new map will be passed before the Supreme Court declares the entire exercise unnecessary. While

we have no doubt that the Court set this deadline in a good-faith effort to remedy a perceived

constitutional violation before the 2020 election, a great many intelligent people on the street may

not see things that way. The Court can avoid this perception by simply staying its decision pending

appeal, at least long enough to see what the Supreme Court decides.

                                         CONCLUSION
       This Court should stay its injunction pending appeal to the Supreme Court.




                                                 Respectfully submitted

                                                 DAVID YOST
                                                 Ohio Attorney General




                                                  15
                    By: /s/Phillip J. Strach
                    Phillip J. Strach*
                    N.C. State Bar No. 29456
                    phil.strach@ogletree.com
                    *Lead and Trial Counsel

                    By: /s/Michael D. McKnight
                    Michael McKnight
                    N.C. State Bar No. 36932
                    michael.mcknight@ogletree.com
                    Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
                    4208 Six Forks Road, Suite 1100
                    Raleigh, NC 27609
                    Tel.: (919) 787-9700
                    Facsimile: (919) 783-9412

                    Attorneys for Defendants Householder & Obhof


                    /s/ Bridget Coontz
                    Bridget Coontz
                    Ohio State Bar No. 0072919
                    Ann Yackshaw
                    Ohio State Bar No. 0090623
                    Ohio Attorney General's Office
                    Constitutional Offices Section
                    30 E. Broad Street, 16th Floor
                    Columbus, Ohio 43215
                    Tel: (614) 466-2872
                    Fax: (614) 728-7592
                    bridget.coontz@ohioattorneygeneral.gov

                    Attorneys for Defendants

Date: May 6, 2019




                    16
                                  CERTIFICATE OF SERVICE

        I, Alyssa Riggins, hereby certify that I have this day filed the foregoing document with
the CM/ECF system which will provide notice to all counsel of record in this matter including
the following:



 T. Alora Thomas-Lundborg                          Freda J. Levenson (0045916)
 Dale E. Ho                                        American Civil Liberties Union of Ohio Fdtn.
 Theresa J. Lee                                    4506 Chester Avenue
 Emily Rong Zhang                                  Cleveland, OH 44103
 American Civil Liberties Union Foundation         Tel.: (216) 472-2220
 125 Broad Street, 18th Floor                      Facsimile: (216) 472-2210
 New York, NY 10004                                flevenson@acluohio.org
 Tel.: (212) 549-2500
 athomas@aclu.org                                  Paul Moke (0014099)
 dho@aclu.org                                      Cooperating Attorney for ACLU of Ohio
 tlee@aclu.org                                     Wilmington College*
 erzhang@aclu.org                                  1252 Pyle Center
                                                   Wilmington, OH 45177
                                                   Tel.: 937-725-7501
                                                   paul.moke@gmail.com
                                                   * Institutional affiliation for the purpose of
                                                   identification only

 Robert Fram                                       Michael Baker
 Nitin Subhedar                                    Perrin Cooke
 Jeremy Goldstein                                  Peter Rechter
 Covington & Burling LLP                           Isaac Wood
 415 Mission Street, Suite 4500                    Covington & Burling LLP
 San Francisco, CA 94105                           850 Tenth Street, NW
 Tel.: (415) 591-6000                              Washington, DC 20001
 rfram@cov.com                                     Tel.: (202) 662-6000
 nsubhedar@cov.com                                 mbaker@cov.com
 jgoldstein@cov.com                                pcooke@cov.com
                                                   prechter@cov.com
                                                   iwood@cov.com

                                                   Attorneys for Plaintiffs
By: /s/Alyssa Riggins
Alyssa Riggins
N.C. State Bar No. 52366
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
4208 Six Forks Road, Suite 1100
Raleigh, NC 27609
Tel.: (919) 787-9700
Facsimile: (919) 783-9412

Attorney for Defendants Householder & Obhof




                                         38414582.1




  2
